Case 2:03-cr-20459-.]Pl\/| Document 141 Filed 08/02/05 Page 1 of 5 PagelD 199

uNiTED sTATEs olsTRlcT couRT n BY 9_¢_
wEsTERN DlsTRlcT oF TENNEssEE F“~E “'
ME l t .
MPHls Dlv s oN 05 ms _2 PH 3_ 39
uNlTED sTATEs oF AMEthA MMM MGUD
353 333 ntsiilh@i CUURT
.v. 2:03cR20459-02-Ml w,@ 33 3 3333#?1~35
RALPH wEDoLE

Howard B. Manis CJA
Defense Attorney

80 Monroe Avenue, Suite G-1
Memphis, TN 38103

 

 

JUDGMENT iN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 3 of the indictment on N|arch 16, 2005. Accordingiy,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Title & Section M€..Qfoff___M Offense Numberisi
Conc|uded
21 U.S.C. § 846 Attempting to Possess with intent to 04/18/2003 3
Distribute Approximateiy 1 Ki|ogram of
Cocaine

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

Counts 1 and 2 dismissed on the motion of the United States.

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until ali fines, restitution, costs
and special assessments imposed by thisjudgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 04/25/1977 August 1, 2005
Deft’s U.S. Marshal No.: 19476-076

Defendant’s Mailing Address:
11 1 Pease
Dyersberg, TN 38024

JON PHiPPS MCCALLA
N|TE STATES DiSTR|CT JUDGE

August_£_, 2005
This document entered on the docket heat in compliance
With Fiuie 555 and/or 32(|:)) FFiCrP on 5 '3§'(;5

Case 2:03-cr-20459-.]Pl\/| Document 141 Filed 08/02/05 Page 2 of 5 PagelD 200

Case No: 2:03CR20459-01-M| Defendant Name: Raiph WEDDLE Page 2 of 4
lMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 36 Months (or 3 Years). The Court waives any

denial of the defendant’s Federal Benefits which would normally accompany a
judgment of this gyge.

The Court recommends to the Bureau of Prisons:

1. The Bureau of Prisons take into consideration the defendant's mental health history
in providing for continuing treatment.
2. The defendant be allowed to participate in the 500-hour intensive drug rehabilitation

treatment program while incarcerated.

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the United States Marshal.

RETU RN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UNiTED STATES MARSHAL
By:

 

Deputy U.S. Marshal

Case 2:03-cr-20459-.]Pl\/| Document 141 Filed 08/02/05 Page 3 of 5 PagelD 201

Case No: 2:030R20459-01-M| Defendant Name: Ra|ph WEDDLE Page 3 of 4
SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 4 Years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|SION

1. The defendant shall not ieave thejudicial district without the permission of the court or probation omcer;

2. The defendant shall report to the probation of&cer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful ali inquiries by the probation officer and follow the instructions of
the probation ocher;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment

6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substancel or any paraphernalia related to such
substancesl except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation ofncer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soid, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation cfticer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a

Case 2:03-cr-20459-.]Pl\/| Document 141 Filed 08/02/05 Page 4 of 5 PagelD 202

Case No: 2:03CR20459-01-Ml Defendant Name: Ra|ph WEDDLE Page 4 of 4
law enforcement ocher;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation ofncer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notifications and to confirm the defendant's compliance with such
notification requirement

13. if thisjudgment imposes a line or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminai Monetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall submit to drug testing and drug treatment programs as directed by the
Probation Office.

2. The defendant shall submit to mental health testing and mental health treatment programs
as directed by the Probation Office.

3. The defendant shall cooperate with DNA collection as directed by the Probation Oftice.
CR|M|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in the Schedule of Payments. The defendant shall pay interest
on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of judgment pursuant to 18 U.S.C. § 3612(f). A|| of the payment
options in the Schedule of Payments may be subject to penalties for default and delinquency
pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00

The Special Assessment shall be due immediately

F|NE
No fine imposed.

REST|TUT|ON
No Restitution was ordered.

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 141 in
ease 2:03-CR-20459 Was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed.

 

Howard Brett Manis
BOROD & KRAMER
80 Monroe Ave.

Ste. G-1

1\/lemphis7 TN 38103

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Honorable .1 on MeCalla
US DISTRICT COURT

